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         Minute Sheet for proceedings held In Open Court & ZOOM on 06/24/2020.


              TIME COURT COMMENCED: 9:30
             A.M.                                      COURT REPORTER: Wynette Blathers
              TIME COURT CONCLUDED: 5:15
             P.M.                                      DEPUTY CLERK: Jennifer Lee
              TIME IN COURT: 6:45
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)       Jonathan Barr representing Belnick LLC
         PRESENT:          Jean-Paul Ciardullo representing Herman Miller, Inc.
                           Stephen Dorvee representing Belnick LLC
                           Lindsey Hughes representing Belnick LLC
                           Amanda Hyland representing Herman Miller, Inc.
                           Jonathan Moskin representing Herman Miller, Inc.
         PROCEEDING
                           Motion Hearing(Motion Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:      The Court conducted oral argument via a Zoom video hearing.
                           The Court DENIES Plaintiff's [98] Motion for Partial Summary
                           Judgment. Plaintiff's [116] request for entry of judgment
                           regarding latches (contained in their response) is DENIED.



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                      Defendant's [101] Motion for Partial Summary Judgment is
                      DENIED on the issue as to whether the trademark is famous or
                      top of mind or widely recognized, and DENIED as to the
                      dilution issue. The functionality argument is TAKEN UNDER
                      ADVISEMENT. The motion is DENIED as to the latches
                      argument as the Court contends there are existing questions of
                      fact. Plaintiff’s [102] Motion for Partial Summary Judgment is
                      TAKEN UNDER ADVISEMENT as to the functionality
                      argument. The method of calculation of dates is DENIED but
                      may be raised more properly in later Daubert or limine motions.
                      Plaintiff's [103], [104], [105] Motions to Exclude Testimony are
                      DEFERRED and an order will be issued before the end of
                      September. Plaintiff’s [106] Motion to Exclude Evidence of
                      Third-Party Infringers is TAKEN UNDER ADVISEMENT.
                      Plaintiff’s [107] Motion to Compel & Enforce Discovery Order
                      is GRANTED – Defendant must produce the data. Plaintiff is
                      responsible for hosting costs and the cost of a third party
                      lawfirm to act as special master. The special master will review
                      documents found (if any) to determine if they are responsive to
                      the discovery request. If parties cannot jointly agree on a special
                      master, each side will submit their candidate and a one page
                      letter to the Court for selection. Defendant has the opportunity
                      to object to any documents identified by the Special Master
                      before they are produced to Plaintiff. The Court also remarked
                      that Plaintiff can re-depose the CFO. The hearing for tomorrow
                      is removed from the calendar.
         HEARING
         STATUS:      Hearing Concluded




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